                                                                                      Rev. 12/01/19


                           LOCAL BANKRUPTCY FORM 3015-1

                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                              CHAPTER 13
 ISABEL BELINDA ACEVEDO
                                                     CASE NO. 5 -bk-20 - 00279-RNO

                                                    ___ ORIGINAL PLAN
                                                    ___
                                                     1st AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)




                                                    ___
                                                     0 Number of Motions to Avoid Liens
                                                    ___
                                                     0 Number of Motions to Value Collateral



                                     CHAPTER 13 PLAN

                                            NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if
neither box is checked, the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in § 9,              Included     ✔ Not
   which are not included in the standard plan as approved by the                          Included
   U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured claim, set        Included     ✔    Not
   out in § 2.E, which may result in a partial payment or no                               Included
   payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory, nonpurchase-         Included     ✔ Not
   money security interest, set out in § 2.G.                                              Included

                            YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without further
notice or hearing unless a written objection is filed before the deadline stated on the Notice
issued in connection with the filing of the plan.




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1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income

             1. To date, the Debtor paid $____________
                                           2940.00        (enter $0 if no payments have been
                made to the Trustee to date). Debtor shall pay to the Trustee for the remaining
                term of the plan the following payments. If applicable, in addition to monthly
                plan payments, Debtor shall make conduit payments through the Trustee as set
                forth below. The total base plan is $_______________,
                                                     29,995.00           plus other payments and
                property stated in § 1B below:

    Start            End              Plan          Estimated        Total            Total
   mm/yyyy          mm/yyyy         Payment          Conduit        Monthly         Payment
                                                    Payment         Payment         Over Plan
                                                                                      Tier
   02/2020          08/2020          420.00                          2940.00         2940.00
   09/2020          01/2025          435.00                         23,055.00       23,055.00




                                                                          Total     25,955.00
                                                                      Payments:

             2. If the plan provides for conduit mortgage payments, and the mortgagee notifies
                the Trustee that a different payment is due, the Trustee shall notify the Debtor
                and any attorney for the Debtor, in writing, to adjust the conduit payments and
                the plan funding. Debtor must pay all post-petition mortgage payments that
                come due before the initiation of conduit mortgage payments.

             3. Debtor shall ensure that any wage attachments are adjusted when necessary to
                conform to the terms of the plan.

             4. CHECK ONE: ( ✔ ) Debtor is at or under median income. If this line is
                checked, the rest of § 1.A.4 need not be completed or reproduced.

                                 ( ) Debtor is over median income. Debtor estimates that a
                                 minimum of $_______________ must be paid to allowed
                                 unsecured creditors in order to comply with the Means Test.




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   B. Additional Plan Funding From Liquidation of Assets/Other

                    1. The Debtor estimates that the liquidation value of this estate is
                       $____________. (Liquidation value is calculated as the value of all non-
                       exempt assets after the deduction of valid liens and encumbrances and
                       before the deduction of Trustee fees and priority claims.)

         Check one of the following two lines.

          ✔
         ___      No assets will be liquidated. If this line is checked, skip § 1.B.2 and complete § 1.B.3
                  if applicable.

         ___      Certain assets will be liquidated as follows:

                    2. In addition to the above specified plan payments, Debtor shall dedicate to
                       the plan proceeds in the estimated amount of $ _____________ from the sale
                       of property known and designated as ___________________
                       ____________________________. All sales shall be completed by
                       ___________________, 20___. If the property does not sell by the date
                       specified, then the disposition of the property shall be as follows:
                        _________________________________________________________

                    3. Other payments from any source(s) (describe specifically) shall be paid to
                       the Trustee as follows:




2. SECURED CLAIMS.

   A. Pre-Confirmation Distributions. Check one.

    ✔
   ___         None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

   ___      Adequate protection and conduit payments in the following amounts will be paid by
            the Debtor to the Trustee. The Trustee will disburse these payments for which a proof
            of claim has been filed as soon as practicable after receipt of said payments from the
            Debtor.




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                       Name of Creditor                            Last Four Digits        Estimated
                                                                     of Account            Monthly
                                                                       Number              Payment




           1. The Trustee will not make a partial payment. If the Debtor makes a partial plan
              payment, or if it is not paid on time and the Trustee is unable to pay timely a payment
              due on a claim in this section, the Debtor’s cure of this default must include any
              applicable late charges.

            2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in
               the conduit payment to the Trustee will not require modification of this plan.

     B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other
        Direct Payments by Debtor. Check one.

      ___      None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

      ✔
     ___       Payments will be made by the Debtor directly to the creditor according to the original
               contract terms, and without modification of those terms unless otherwise agreed to by
               the contracting parties. All liens survive the plan if not avoided or paid in full under
               the plan.

      Name of Creditor                        Description of Collateral               Last Four Digits
                                                                                        of Account
                                                                                          Number
PNC Bank                             110 Juniper Dr., Milford, PA 18337                     7421


Pocono 1woodland Lakes POA           110 Juniper Dr., Milford, PA 18337                     5711




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     C. Arrears (Including, but not limited to, claims secured by Debtor’s principal
        residence). Check one.

     ___    None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

      ✔
     ___    The Trustee shall distribute to each creditor set forth below the amount of arrearages
            in the allowed claim. If post-petition arrears are not itemized in an allowed claim,
            they shall be paid in the amount stated below. Unless otherwise ordered, if relief
            from the automatic stay is granted as to any collateral listed in this section, all
            payments to the creditor as to that collateral shall cease, and the claim will no
            longer be provided for under § 1322(b)(5) of the Bankruptcy Code:

    Name of Creditor             Description of          Estimated     Estimated        Estimated
                                  Collateral            Pre-petition   Postpetition    Total to be
                                                         Arrears to     Arrears to     paid in plan
                                                         be Cured       be Cured

PNC Bank                   110 Juniper Dr., Milford, 20,907.29                        20,907.29
                           PA 18337

Pocono Woodland Lakes      110 Juniper Dr., Milford, 2520.00                          2520.00
POA                        PA 18337




     D. Other secured claims (conduit payments and claims for which a § 506 valuation is
        not applicable, etc.)

      ✔
     ___    None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

     ___    The claims below are secured claims for which a § 506 valuation is not applicable,
            and can include: (1) claims that were either (a) incurred within 910 days of the
            petition date and secured by a purchase money security interest in a motor vehicle
            acquired for the personal use of the Debtor, or (b) incurred within 1 year of the
            petition date and secured by a purchase money security interest in any other thing of
            value; (2) conduit payments; or (3) secured claims not provided for elsewhere.




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          1. The allowed secured claims listed below shall be paid in full and their liens
             retained until the earlier of the payment of the underlying debt determined under
             nonbankruptcy law or discharge under §1328 of the Code.

          2. In addition to payment of the allowed secured claim, present value interest
             pursuant to 11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the amount
             listed below, unless an objection is raised. If an objection is raised, then the court
             will determine the present value interest rate and amount at the confirmation
             hearing.

          3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was
             paid, payments on the claim shall cease.

  Name of Creditor         Description of Collateral       Principal      Interest     Total to be
                                                           Balance of       Rate      Paid in Plan
                                                             Claim




   E. Secured claims for which a § 506 valuation is applicable. Check one.

   ___
    ✔     None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.
   ___    Claims listed in the subsection are debts secured by property not described in § 2.D of
          this plan. These claims will be paid in the plan according to modified terms, and liens
          retained until the earlier of the payment of the underlying debt determined under
          nonbankruptcy law or discharge under §1328 of the Code. The excess of the
          creditor’s claim will be treated as an unsecured claim. Any claim listed as “$0.00” or
          “NO VALUE” in the “Modified Principal Balance” column below will be treated as
          an unsecured claim. The liens will be avoided or limited through the plan or Debtor
          will file an adversary or other action (select method in last column). To the extent not
          already determined, the amount, extent or validity of the allowed secured claim for
          each claim listed below will be determined by the court at the confirmation hearing.
          Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid,
          payments on the claim shall cease.




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Name of Creditor            Description of        Value of      Interest Total            Plan,
                             Collateral          Collateral       Rate Payment         Adversary
                                                 (Modified                              or Other
                                                 Principal)                              Action




   F. Surrender of Collateral. Check one.

    ✔
   ___     None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

   ___     The Debtor elects to surrender to each creditor listed below the collateral that secures
           the creditor’s claim. The Debtor requests that upon confirmation of this plan or upon
           approval of any modified plan the stay under 11 U.S.C. §362(a) be terminated as to
           the collateral only and that the stay under §1301 be terminated in all respects. Any
           allowed unsecured claim resulting from the disposition of the collateral will be treated
           in Part 4 below.

         Name of Creditor                     Description of Collateral to be Surrendered




   G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check
      one.

   ___     None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.




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     ___        The Debtor moves to avoid the following judicial and/or nonpossessory, nonpurchase
                money liens of the following creditors pursuant to § 522(f) (this § should not be used
                for statutory or consensual liens such as mortgages).

 Name of Lien Holder


 Lien Description
 For judicial lien, include court
 and docket number.
 Description of the
 liened property
 Liened Asset Value
 Sum of Senior Liens
 Exemption Claimed
 Amount of Lien
 Amount Avoided


3. PRIORITY CLAIMS.

    A. Administrative Claims

          1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed
             by the United States Trustee.

          2. Attorney’s fees. Complete only one of the following options:

                a. In addition to the retainer of $_____________
                                                   1000.00       already paid by the Debtor, the
                   amount of $_____________ in the plan. This represents the unpaid balance of the
                                1000.00
                   presumptively reasonable fee specified in L.B.R. 2016-2(c); or

                b. $_____________ per hour, with the hourly rate to be adjusted in accordance with
                   the terms of the written fee agreement between the Debtor and the attorney.
                   Payment of such lodestar compensation shall require a separate fee application
                   with the compensation approved by the Court pursuant to L.B.R. 2016-2(b).

          3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above. Check
                     one of the following two lines.

                 ✔
                ___         None. If “None” is checked, the rest of § 3.A.3 need not be completed or
                            reproduced.

                ___         The following administrative claims will be paid in full.

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              Name of Creditor                                Estimated Total Payment




     B. Priority Claims (including, certain Domestic Support Obligations

        Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full
        unless modified under §9.


             Name of Creditor                                 Estimated Total Payment
NYS Assessment Receivables                                             156.20




    C. Domestic Support Obligations assigned to or owed to a governmental unit under 11
       U.S.C. §507(a)(1)(B). Check one of the following two lines.

         ✔
        ___    None. If “None” is checked, the rest of § 3.C need not be completed or
               reproduced.

        ___    The allowed priority claims listed below are based on a domestic support
               obligation that has been assigned to or is owed to a governmental unit and will be
               paid less than the full amount of the claim. This plan provision requires that
               payments in § 1.A. be for a term of 60 months (see 11 U.S.C. §1322(a)(4)).

              Name of Creditor                                Estimated Total Payment




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4. UNSECURED CLAIMS

   A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the
      following two lines.

         ✔
         ___      None. If “None” is checked, the rest of § 4.A need not be completed or
                  reproduced.

         ___      To the extent that funds are available, the allowed amount of the following
                  unsecured claims, such as co-signed unsecured debts, will be paid before other,
                  unclassified, unsecured claims. The claim shall be paid interest at the rate stated
                  below. If no rate is stated, the interest rate set forth in the proof of claim shall
                  apply.

 Name of Creditor                  Reason for Special          Estimated       Interest      Estimated
                                     Classification            Amount of         Rate          Total
                                                                Claim                        Payment




   B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds
      remaining after payment of other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following
   two lines.

   ✔
   ___         None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

   ___     The following contracts and leases are assumed (and arrears in the allowed claim to
           be cured in the plan) or rejected:

Name of Other            Description of      Monthly Interest Estimated            Total        Assume
   Party                  Contract or        Payment   Rate    Arrears              Plan       or Reject
                             Lease                                                Payment




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6. VESTING OF PROPERTY OF THE ESTATE.

    Property of the estate will vest in the Debtor upon

    Check the applicable line:

    ___
     ✔ plan confirmation.
    ___ entry of discharge.
    ___ closing of case.


7. DISCHARGE: (Check one)

    ( ✔ ) The debtor will seek a discharge pursuant to § 1328(a).
    ( ) The debtor is not eligible for a discharge because the debtor has previously received a
          discharge described in § 1328(f).

8. ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
the Trustee will treat the claim as allowed, subject to objection by the Debtor.




Payments from the plan will be made by the Trustee in the following order:
Level 1: ____________________________________________________
Level 2: ____________________________________________________
Level 3: ____________________________________________________
Level 4: ____________________________________________________
Level 5: ____________________________________________________
Level 6: ____________________________________________________
Level 7: ____________________________________________________
Level 8: ____________________________________________________




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If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)




      08/07/2020
Dated:_______________                     /s/Vern Lazaroff
                                          _______________________________________
                                          Attorney for Debtor



                                          /s/Isabel Belinda Acevedo
                                          _______________________________________
                                          Debtor

                                          ________________________________________
                                          Joint Debtor


By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.



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